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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

RONALD CHAD ALLEN,                                                                        Plaintiff,

v.                                                             Civil Action No. 3:17-cv-211-DJH

EQUIFAX INFORMATION SERVICES,
LLC, et al.,                                                                          Defendants.

                                            * * * * *

                                             ORDER

        Plaintiff Ronald Chad Allen and Defendant Hillcrest Credit Agency have agreed to a

settlement in this case. (Docket No. 8) Accordingly, and the Court being otherwise sufficiently

advised, it is hereby

        ORDERED that the plaintiff’s claims against Hillcrest Credit Agency are DISMISSED

without prejudice.

        The parties shall tender an agreed order of dismissal with prejudice within forty-five (45)

days of the date of entry of this Order. The Court will entertain a motion to redocket the action

within forty-five (45) days of the date of entry of this Order in the event the settlement is not

consummated. This order does not, and is not intended to, affect Plaintiff’s claims against any

other Defendant in this action.


 May 1, 2017




                                                              David J. Hale, Judge
                                                           United States District Court




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